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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

NEW HAVEN DIVISION
lo Re: Chapter 7
ARTHUR B. ESTRADA Case No. 17-31085 AMN
Debtor
ARTHUR B. ESTRADA
Movant
v.
American Express Bank FSB
Target Nationaf Bank
Discover Bank August 23, 2017

Resp ondcnts

MOTION PURSUANT TO 11 U.S.C. § 522
TO AVOID JUI)ICIAL LIENS IMPAIRING EXEMPTIONS

Arthur B. Estrada, Movant, by and through eounsel, moves this Court to void the judgment
liens of Respondents on Movant’s real property, and states in support as follows:

l. Althur B. Estrada (“Movant” or “Debtor”) commenced this proceeding by the filing of
a petition under Chapter 7 of Title ll, United States Code, on July 20, 2017 (the “Petition Date”).

2. By this motion Debtor seeks an order voiding Respondents’ judgment liens recorded
against his real property at 29 Myra Road, Halnden, Connecticut (the “Property”). This Court has
jurisdiction to hear and determine this matter pursuant to 28 U.S.C. Section 157(b)(2)(A), (B), (K),
and (0). The statutory predicate for relief sought herein is Section 522({) of the Bankruptcy Code.
Applicable rules include Rules 4003(d) and 9014 of the Federal Rules of Bankruptcy Procedure.

3. Arnong the assets in this estate is the Debtor’s one-half interest in his residenee, a

 

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single family house at 29 Myra Road, Hamden, Connecticut (the “Property”) owned jointly by Movant
and his non-debtor spouse as of the Petition Date. The Property is titled in the name of the Debtor
and his spouse Who is not a Debtor in this case. The non-debtor spouse’s interest in the Property is
subject to real property taxes, if any are due, and to the first and second mortgages only, which
mortgages also encumber the Debtor’s interest in said Property. All other liens and encumbrances
described herein are against the Debtor and his interest in the Property only. The Property is valued at
$240,000.00 per an appraisal obtained on Angust 6, 2017 Which Debtor asserts remains a fair
vaiuation as of the Petition Date. A copy of said appraisal is attached hereto as Exhibit A. Based on
said value, the Debtor’s one-half interest at the Petition Date Was worth $120,000. With respect to the
Property, the Debtor scheduled his claimed exemption in the sum of $l 1,875.00.

4. There are recorded among the land records of the Town of Hamden the following

mortgages on the Property:

 

 

 

 

 

Type Holder Amount Balance Due Vol/Page Date Rec.
Mortgage Ditech Financiai, LLC $262,000.00 $271,129.59 2451/25 4/28/2003
Moitgage Real Tilne Resolutions $80,000.00 $66,856.05 3079/227' 12/27/2005

Total Balance $337,985.64
5. The balances due on the first and second mortgages, as set forth above as of the Petition

Date, are referenced hereinafter as the “Non-avoidable Encumbrances.” The Non-avoidable
Encumbrances due at the Petition Date consume well in excess of the full appraised value of the
Property.

6. Also recorded against the property among the land records of the Town of Hamden, as

of the Petition Date were the following encumbrances:

Page 2

 

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Type Holder Amount Vol/Page Date Rec,
Judgment Lien American Express Banl< FSB $13,847.79 3661/319 l l/l6/2009
Judgment Lien Target National Banl< $10,094.16 3666/119 11/30/2009
.ludgment Lien Discover Bank $12,463.27 3']"92/267' 2/17/2(}1 i

 

The values shown above are the original amounts of the judgment liens on Which interest may also be
claimed and are recorded solely against the Debtor’s interest in the Property.

7. The balances due on the Non-avoidable Encumbrances in Paragraph 4 are for the full
amount of these liabilities secured by the entire property. Aliocating one-half of said debts to the
Debtor’s one-half interest would result in non-avoidable mortgage debts of half of $337,985.64 or
$168,992.82. The Debtor has properly claimed as exempt the value of $l l,875.00 (the “Exemption”).
The aggregate total of the Non-avoidable Encumbrances plus the Exemption is 3180,867.82. As the
value of the Debtor’s one-half interest in the Propelty is 3120,000.0(}, the Non-avoidabie
Encumbrances plus the Exemption exceed the value of the Debtor’s interest in the Property.

8. Therefore the sum of the full amount of each of the judgment liens described in
Paragraph 6 above, plus the Non~avoidable Encumbrances and the Exemption exceeds the value of the
Debtor’s interest in the Property, even without consideration of any of the other liens. ln accordance
With the definition in Section 522(f)(2)(A) of the Bankruptcy Code, each lien impairs the exemption
the Debtor could claim if there were no liens.

9. The judgment liens of the Respondents are “judicial liens” as the term is defined in
Section 101(36) of the Bankruptcy Code, and impair an exemption to which the Debtor would have
been entitled in the absence of such liens. 'l`herefore said liens should be avoided irl full as the total of

all other liens including the Non-avoidable Encumbrances plus the available exemption exceeds the

 

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value of the Debtor’s interest in the Property.

TI-IEREFORE, the Debtor prays that the Court enter an order avoiding and releasing the
Respondents’ encumbrances in total, and for such other and further relief as the Court deems just and
appropriatel

Dated in New Haven, Connecticut, this 23rd of August 2017.

ARTHUR B. ESTRADA

BY: /s/ Richard M. Coan

Richard M. Coan (ct06376)

Coan, Lewendon, Guliiver & Miltenberger, LLC
495 Orange Street

New I'iaven, CT 0651]

rl`elephone: (203)624-4756

Facsimile: (203)865~3673
1'coall@coan1ewendon.com

 

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

NEW HAVEN DIVISION

In Re: Cllapter 7
AR'I‘HUR B. ESTRADA Case No. 17-31085 AMN

Debtor
ARTHUR B. ES'I`RADA

Movant
v.
Anlerican Express Bank FSB
Target National Bank
Discover Bank

Respondents

PROPOSED

ORDER ON MOTION TO AVOII) .]UDICIAL LIENS
PURSUANT TO BANKRUP'I`CY CODE SECTION 522(f)

Af`ter notice and a hearing, see ll U.S.C. § 102(l), and in compliance with the Court’s Contested
Matter Procedure on the Debtcr’s Motion to Avoid Liens, ECF No. _ (the “Motion”), and there being no
objection thereto, and it having been represented that:

l. On the Petition Date of this case, July 20, 2017, the fair market value of the Debtor’s residence
and real property located at 29 Myra Road, Hamden, Connecticut (the “Property”) WaS $260,000.00.

2. The Debtor is entitled to and “could claim”, see ll U.S.C. § 522(t`)(1) and (2)(A), an exemption
with respect to the Property under U.S.C. §§ 522(b) in the amount of 31 1,875.00.

2. The encumbrances against the Property are summarized in the Motion.

lt is hereby ORDERED, the Motion is granted insofar as the fixing of the following judicial liens

on the Debtor’s interest in the Property are avoided pursuant to ll U.S.C. § 522(f):

 

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A. Encumbrance
i. Name of Encumbrance Holder: American Express Bank FSB
ii. Type of Encumbrance: Judgment Lien
iii. Recording lnformation:

a. Volume: 3661

b. Page: 3 19

c. City/Town: Hamden

d. Date 11/16/2009
iv. Amount of encumbrance $13,847.79
B. Encuml)rance
i. Name of Encumbrance Holder: Target National Bank
ii. Type of Encumbrance: Judgment Lien
iii. Recording lnformation:

a. Volume: 3666

b. Page: 119

c. City/Town: Hamden

d. Date 11/30/2009
iv. Amount of encumbrance 310,094. 16
C. Encumbrance
i. Name of Encumbrance Holder: Discover Banl<
ii. Type of Encumbrance: Judgment Lien
iii. Recording lnformation:

a. Volume: 3792

b. Page: 267

c. City/Town: Hamden

d. Date 2/17/2(}11
iv. A_mount of encumbrance $12,463.27

 

 

 

 

It is further ORDERED, that should this bankruptcy case be dismissed, any and all liens avoided

by this Order shall be reinstated under 11 U.S.C. § 349 without further order of this Court.

 

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Appraisal Report

29 Myra Rd
Hamden, CT 0651’7

Vincent J. Guardiano Real Estate Appraiser, LLC
17 Elizabeth Street
Derby, CT 06418

 

  

Appralsed Vatue as of ___
240 000

 

 

 

 

 

 

 

$ *j

StylefDesign: Sa|t Box Lot Size: 0.25 Acres
iron Living Area (Sq.Ft.): 1,601 Neighborhood: Ridge Hi||
§ Total Bedroolns: 2 _ Total Baths: 1.1
ru
"' - Year Built: 1935 Ef`f`ective Age: 30

Condition: Average Date of Report: 08109!20'1 7

Client: Arthur B. & Jeannine Estrada Estrada
§ Address: 29 Myra Road
§ - City: Hamden State: CT Zip: 06517
_ § Phone: Fax:
j E-mail:
Name: Vincent J. Guardiano
§ Designation:
m 51
§ Ce1tif`1cation 01 License #: RCGUDOOZSO
§ yv\?[' Expiration Date: 041'301'2018 ST: CT

Appralsm gm we E-mail: VJGRE@comcast.net

§ Ciient File #: Appraiser Pile #:

The value opinion expressed above is only valid in conjunction with the attached appraisal report. This value opinion
. may be subject to Hypothetica| Conditicms andlor Extraordinary Assumptions as indicated in the body of the report.
..: A true and complete copy of this Summary Appralsa| Report contains _j_?_ pages.

§@H§U MERSF copyrigth 2007 by a le merle lee ins term may be remeeeeed unearned allan enter mission however a la meee. irre. mustbe eclrmr.ledged are eredllers.
- norm sPcsF_u - none appraisal referee ny a le mode ne - reno-emmons 101200?

 

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RES|DENT|AL. APPRA|SAL. SUMMARY REPOR`T

SUBJECT PROPERTY lDENT|FlCATiON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Property Address: 29 Myra Rd City: Hamden MH_H_

Siaie: g_ le CUdB! 06517 COUlilyZ Ne\v Haven vw
Lega| Description ot Real Property; yp_l. 2451, Page 23
Tax Assessor‘s Parcet #'. 2230/129 R.E. Taxes:$ 0 347.60 Tax Year: 2016

Speciat As sessments: $ N@ne Current Ovrner of Record: Artlprr B. & Jeannine Eslrada Eslrada
Occupancv: }`{| Olvner § Tenant g Vacant Current Occupant (it occupied): Arnarr B. & Jeamrine Estrada Esrrada
Proiect Type (if applicable): ij Planned Unit Deveiopment l:l Condominium l:l Cooperative i:i

Horne Ov.rners' Association Membership Fees Gi applicab|e): $ l:l per year i:l per month
Markei Area Name: Ridge Hill Map Reterence: M _____ Census Tract: 1651.00

ASSIGNMENT
The purpose of this appraisal is to develop a Current opinion of Market Value (as defined elsewhere in this report).
Prpperry sipan Appraieea: § rea simple |:l Leaeelrpla [l Leaeep Fee E omar (desea'oe)
intended USe: Estimate market value to assist the client in making a business decision. _
lntended User(s) (by name or type): Cliem
Client: Arthur B. & Jeannine Estrada Estrada AddreSS! 29 Mvra Road, Hamden, CT 06517
Appraiser: Vincent J. Guardiano Address: 17 Etizabeth Street, Derby, CT 064i 8
MARKET AREA DESCR|PTION

Laearipp: § urban suburban ij aural sam up: § over rea § 25-75% i:l under 25aJ
Gro\.vth Flale: l:l Flapid Stable lj Slov.r Properiy Va|ues: i:l lncreasing § Stable i:l Dec|lning
Demand/Supply: l:l Shortage § |n Ba|ance lj Over Supply Mari<eling Tirne: i:l Under 3 Mos. ig 3-6 Mos. i:l Over 6 lvlos.
Typieai tins-Un`rt Frice: ($) tow 100 000 l-ligh 600 000 Predominant 275 000

Housmg Ra"ges' Age: (yrs.) tow 50 l-iigh 150 Predominant 80
Present Land Use: One-Unit: 70 % 2-4 Un'rl: 5 % Multi-Un'rt: % Comm'|: 5 % Park Golt 20 %

Change in Land Use: Not Lii<elv l:l Lii<ety * I:I ls Changing * * To:

 

Market Area Comments‘.
The subject property is in the Ridgc Hill neighborhood, a desirable locale situated in the southeastern section ofl~!amden. The area is classified as
residential, comprising mostly single family homes built in the 1920'3 and 1930'5. The area is proximate to EastRock Park, New Haven Country
Club, and Lake Whitney. The area is proximate to New Haven, higlt\.l.'avs1 schools and places of worship. When priced competitiveiy, properties sell

within a 60 to 120 day marketing period.

SALE l TRANSFERI LISTENG HlSTORY OF SUBJECT PROPERTY

 

My research: I: Did § Did not reveal any prior sales or transfers of the subject property for the three years priorto the Eftective Date ot this
appraisa|. Date Source(s): Town hali, Cliem
ist Prior Sale / Transfer End Prior Sale / `i'ranster 3nd Prior Sale/ Transier
Date of Pn'or Sa|ef Transter: N/A NJA N/A

 

Price of P¢ior Sale/ Transier:

Source(s} of Prior Sa|e / Transier Date:
Ana|ysis ot saie/ transfer history, any current agreements of sale or llsting, and listing history (ii relevant):

The property was not listed in tile Local MLS for sale and has not transacted within the past three years.

 

 

 

 

 

Clieni! Arthur B. & ]eannine Estrada Estrada Clanl Fll€ NO.Z Appfal$el’ Fi|e NO.Z

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‘ rprm ePcsr_Lr - “rorAL' appraisal eamrare by a 1a maaa, ma - redd-ALAMODE iii/2007

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RESIDEN`T|AL. APPRA|SAL SUMMARY REPORT

SlTE DESCRIP"f`iON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dimensions: See attached legal description Slte Area: 0.25 Acres
Zoning Classtlioation: n4 Zontng Desoriplion: single-family
Zoning Compliance: § Lega| l:l Legal Non-Gonformtng (Grandfathered) l:l |t|egat I:] No Zooing Regulations
Deed P.estrictions: Are Govenants, Cond'rtions, & Restrictions (CG&RS) applicable? l:l Yes § No l:l Unknovrn
Have the documents bean reviewed? ij Yes \:l No N/A Ground Rent (ifapp|icabte) $ /
Comments:
Htghest & Best Use, as improvedJ is thor I:l Present use, or ix Other use (expfaio) Single family
ChataGlEtiSiiCS: TOpOQfaphy$ Level near street grade SlZSF Typical to Neighborhood
Shape: l\./Iostl)l Rectang,ular Dfalnage! No apparant problems
V¢ew: Residemial Landscaping: Above average landscaping
01her teatures: § inside Lot E:I Corner Lot § Cul de Sae l:l Underground Uti|tties m
Utilities: Pub|ic Other Provider,/Descdption Otf-stte lmprovements: Type Pub|l'c Private
Etectricity: § § Street: griggs asphalt il g
Gas: § m Curb/Gutter: Name l:l m
Water: § I:l Sidewalk: none l:l l:l
San'rtary Sevrer. E:l Altey: None i:l l:l
ls the property ortho improvements located in a FEMA Speeiat Flood Hazard Area? l:l ¥es No
FEMA Ftood Zone: X FEMA Map # 09009€0432K FEMA Map Date: 5/16/20¥7

Site Commeots:
Well landscaped Yard with a sprinkler system, Paved asphalt driveway, masonry patio. The rear yard is very private due to extensive shrubbery and

landscaping Therc arc numerous flower beds and sitting gardens.

 

DESCR|PT|ON OF THE iMPROVEMENTS

 

 

 

 

 

 

 

 

Genera| Descr§ption: #otUnits: 1 ij + Accessory Unit # ofStories: 2 Design (Style): SattBox
Type: § Detached l:l Attached [:] Status: § Existing l:l Proposed [:l UnderConstructl`ora
Actua| Age (years): 32 _ Etfectr`ve Age (years): 30 Year Built: 1935
Exterior Description:
FOUHdaliOHZ StonefMortar EXlBl'iOl' WallS! Wood Shingles
ROOf SU|’TBGB.' Asphalt Shingle GU[{GIS & DOWDSDOU!SZ Aluminum
Wir\dO\'l TypB(S)Z Double Hnno SlOfI'n / SC|'BEHS! Irrsulated glass, screens
Heating System: 011FWA Cco!tng System: Central Air Couditioni_ng
CarStorage: :l None § Garage l:| Garpolt § Dn'veway (Surtace: Asphalt ) Totat#ofCars: 3
Livable area above grade contains: 7 Rooms, 2 Bedrooms, 1.1 Bath(s), and 1601 Sq.Ft. of GLA

 

Describe Additicna| Features and improvements:
The subject comprises a well constructed colonial style dwelling Updatcs completed 10 years ago include a remodeled Kitchen and 1/2 bathroom
and a new roof. Fivc years ago the owner replaced the HVAC and last year replaced the water lleater. Addifional improvements include a i`lreplace,
gnglits and a patio. The overall condition is rated good. Some functional obsolescence is noted for the market place resistance f`or two-bedroom

design

 

Cliean Artllur B. & Jeanninc Estrada Estrada CflEUl Fil€ NO.Z Appl'aiSBr File NO.:

C§N§U M§R SF Copvrtoht© 2007 by ala rrvode. Inc. Thts form may be reproduced urimd€tted without written oenmsston. however a la rnode, tne. must be acmatedoed and credited
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RES|DENT|AL APPRAISAL. SUMNIARY REPORT

SALES COMPAR|SON APPROACH TO VALUE

For the Sales Ccmparison Approach. tire appraiser selects comparable sales thatthey consider the best matches to the subject in terms of physical
characteristics physical prcximity, and time cl sale. The appraiser then makes adjustments to the known sale price ol each comparable sale to account for
differences that are recognized by the market For example, if the subject has a single bathroom but a comparable has 2. the comparablc’s sale price would be
reduced by the attributable value given to the extra bathroom based on the markets reaction Likewise, it a comparable sale has a smaller square footage than
the subjectl its sale price would be adjusted upward in the same manncr. By weighting and reconciling these adjusted sales prices together, an opinion ct value
torthe subject can be detennined.

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FEATURE SUBJECT COMPARABLE SALE # 1 COMPARABLE SALE # 2 COMPARABLE SALE # 3

AddteSS 29 Myra Rd 83 Hepburn Rd 25 Pickwick Rd 36 Myra Rd
Harnden, CT 06517 Hamden, C'l` 06517 Hamdeu, CT 06517 Hamden, C'l` 0651')'

Pl’OXim'lfy 10 SUbj'BCf ().17 miles NE 0.26 miles N 0.03 miles NE
Sale Fn'ce $ NrA _ `
Sale Pn'cc / era s /Sq.Ft. $ 164.27/Sq.1=t. 157.4618q.Ft. __ 3 117.3c/Sq.Ft. _ _
Daia SDterB(S) lnspection, TH MLS Broker MLS Broker MLS Broker mm
ADJUSTMENT lTEMS DESCH|PTlON DESCREPT[ON -i-(-) $ AdeSl. DESCR|PTiON +(-) $ Atij'llsl. DESCRIPT|ON +(') $ AC|§USL
Sales or Flnancing
COltCeSSiOnS None None None
Date 01 Sale/ TlmB N/A July 2017 Nov 2016_ Current Listing -10,000
RighlS Appl'aiS€d Fee Simple Fce Simple Fee Simple Fec Simple
LOCBilOtt Good Similar Sirnilar m Similar
Sife 0.25 chLandscape 0.34 Ac/ Similar 0.62 Acr' Similar -10,000 0.28 Ac/ Ini'erior +10,000
WBW Rcsidentia[ Residentiai Residentia! Rcsidcntial
DBSigl'l (Sly[B) Salt Box Cape Colonial Colonial
Otlttlily 01 CDHSltUCiiOH Average Average Average Brick -5,000
AQB 82 Yrs 79 Yrs 87 Yrs 86 Yrs
COtidiiiOIt Good)'some rem Good similar Rem Good Inf Rcln +10,000 Fair +40,000
Above erode rural carmel sachs rear sums aath rcra sums sath rural carmel earns
Roomcount 7 2 I 1.1 6 3 2 -3,000 7 3 1.1 s 4 l 1.1
Gross Living Area 1,601 Sq.Ft. 1,461 Sq.Ft. +5,600 I,556 Sq.Ft. +1,soo 1,832 Sq.Ft. -9,200
Basement Total Area Parlial Full Full Full
Basement Finjsh Area Untinishcd Unf`mished Uniinislled Unlinished
FUthtiOtlal Uli|liy Average - (ZBR) Average -5,11110 Average -5,000 Avcrage -5,000
HBB“"Q / COOHI`|Q I"WA Central AC Rad Central AC Rad NoCentral AC +6,000 Rad NoCentral AC +6,000
EnBIgy EfficlEllt items None None None None
Garagc/ Carpcrt 1 Car Au 2 came (1 fn 1 leary -3,000 2 ear An -3,000 None +3,000
Porch/Parro/ beck esso wo ease sr -s,occ sr -3,000
Flteplace One Fpl 0ne Fpl 011e Fp[ One Fpl
Ner Adjustment (Total) -5,400 + IX] S -5,200 + U- S zc,soo
Adjusted Sale Price
et Comparables 234,600 - 239,300 241,800

 

 

 

 

Comments on the Sates Compariscn Apprcach:
The overall quality of` the market data is rated averagel All three comparable properties are located in the Ridge Hill neighborhood Comparable

 

property #3 is a listing, located across the street from the subject property. lt is an estate property 111 need cf a newer kitchen, windows, interior

cleaning painting and floor covering. Each sale is given equal weight in the final analysesl

 

 

 

 

 

1 'Apprai_$er‘.s indicated Va|ue bytbe Sa|es Comparison Approach: f " - S

Client:

Arthur B. & Jcannine Estrada Estrada

.C®iii§tiitd§§$F C°°

Ctient File Nc.:

- .- -240.

000 ..'-';_;'.'-|

Appralser File No.:

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RES|DENT|AL. APPRA|SAL. SUMMARY REPORT

RECONC|LIAT|ON

Fina| Reconciliation of the Apprcaches to Value:
ln developing this appraisal, the appraiser has incorporated only the Sales Comparison approach. The appraiser has excluded th_t;Cost and Income

approaches The appraiser has determined that this appraisal process is not so limited that the results ofthe assignment arc no longer credible.

This appraisal is made "asis"; l:] subject to completion per plans and specifications on the basis of a Hypotbetical
Condition that the improvements have been completed; I:I subject to the following repairs or alterations on the basis of a
Hypothetical Condifion that the repairs or alterations have been completed; m subject to the following required inspection(s)
based on the Extraordinary Assumption that the following condition or deficiency does not require alteration or repair:

 

 

 

m Ttris report is also subject to other Hypothetical Conditions or Extraordinary Assumptions as specified elsewhere in this report.

ATTACHMENTS

A true and complete copy of this report contains pages including alt exhibits which are considered an integrai part ot the
report. This appraisal report may not be property understood without reference to the information contained in the complete report

Attached Exhibits:

scopeorworr< rrmrungcondrrrens cernrcarrons E Narrarrveadoenuum

Photograph Acidenda [i Sketch Addendum Map Addenda i:l Flood Addendum

l:l tiualifications m CostAddendum § Assessor's Map \:l HypoiheticalCond'rtions

ij Extraordinary Assumptions Assessor's Card/Sketch i:l Lega| Descn'ption i:l MLS Data Comp|nteriorPhotos
OPlNiON OF VALUE

This Opinion of Value may be subject to other Hypothetica| Conditions and / or E>rtraordinary Assumptions, if so indicated above.
Based on the degree of inspection of the subject property as indicated below; the defined Scope of Wori< for this appraisal
assignment the attached Statement of Assumptions and Limiting Cond'rtions; and the attached Appraiser's Gertitications, my (our)
Current Opinion of tire Mark_et Value (or value range), as defined elsewhere in this report of the real property that is the subject
of this report is: l$ ztoooo ;`as of: A`ugu`sro, 2017 .- . ._ ,
which is both the inspection Date and the Eftective Date of this appraisal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SIGNA`¥'URES

APPRA|SER _ SUPERV|SURY APPRA|SER (if required)
or CO-APPRAiSER (if applicabie)
t rim
j 7 7 Supenrisory or

Applaisel' NHmB.` Vincent uardiano CO'ApptalSEI NHITIEZ
Company: Cornpany:
Pl'lonei (203) 732-2900 FBXZ (203) 732“2903 PhOnB: Fax:
E-ttitlil$ VJGRE(rDcoIncast.net E'|Tlitlli
Date of Report (Signature): 03109/2017 Date ot Fleport (Signature}: oe!os/zor'i
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Designatr`on: Designation:
Expiration Date of License or Certification: 04/3012018 Expiration Date of License or Certitication:
lnspection of Subject: interior 81 E)rterior l:l Exterior Only l:l None inspection of Subject: :] inferior & Exterior m Exterior On|y I:] None
Date of lnspection: Augusr 6, 2017 Date of lnspection:
Cliean Arthrrr B. & Jeanninc Estrada Estrada CliBlll Fll& NO.Z AppfaiSBr Fi|B NO.Z

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ASSUNIPT|ONS & L.lMl`TlNG COND|TIONS

SUBJECT PROPERTY

 

 

Property Address: 29 Myra Rcl City: hamden
Staer CT th COdGZ 06517 COU nfyl New Haven

 

 

 

STATEMENT OF ASSUMPTiONS & LllllllTlNG COND|T|ONS

- The appraiser will not be responsible for matters ot a legal nature that atfect either the property being appraised or the title to it. The
appraiser assumes that the title is good and marketable and, therefore, will not render any opinions about the title. The property is
appraised on the basis of it being under responsible ownership.

- The appraiser may have provided a sketch in the appraisal report to show approximate dimensions cf the improvements and any such
sketch is included only to assist the reader of the report in visualizing the property and understanding the appraiser's determination of its
size. Unless otherwise lndicated, a tend Survey was not performed

- if so indicated, the appraiser has examined the available flood maps that are provided by the Federal Emergency Managementltgency
(or other data sourcesj and has noted in the appraisal report whether the subject site is located in an identified Special Flood Hazard Area.
Because the appraiser is not a surveyor, he or she makes no guarantees, express or impliedl regarding this determination

- The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question uniess specific
arrangements to do so have been made beforehand

- if the cost approach is included in this appraisal the appraiser has estimated the value of the land in the cost approach at its highest and
best use, and the improvements at their contributory value. These separate valuations of the land and improvements must not be used in
conjunction with any other appraisal and are invalid if they are so used. Unless otherwise specifically indicated, the cost approach value is
not an insurance value, and should not be used as such.

- the appraiser has noted in the appraisal report any adverse conditions (including, but not limited to, needed repairs, depreciation the
presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property, or that he or she became
aware ot during the normal research involved in performing the appraisal. Unless otherwise stated in the appraisal report, the appraiser
has no knowledge of any hidden or unapparent conditions of the property, or adverse environmental conditions lincluding, but not limited
tol the presence of hazardous wastes, toxic substances, etc.j that would make the property more or less valuable, and has assumed that
there are no such conditions and makes no guarantees or warrantiesl express or implied, regarding the condition of the property The
appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be required to discover
whether such conditions exist. Because the appraiser is not an expert in the field of environmental hazards, the appraisal report must not
be considered as an environmental assessment of the propertyl

- The appraiser obtained the information estimates, and opinions that were expressed in the appraisal report from sources that be or she
considers to be reliable and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such
items that were furnished by other parties.

- The appraiser will not disclose the contents of the appraisal report except as provided for in the Uniform Standards of Professional
Appraisal Practice, and any applicable federal, state or local laws.

- lf this appraisal is indicated as subject to satisfactory completion repairs, or alterationsl the appraiser has based his or her appraisal
report and valuation conclusion on the assumption that completion of the improvements will be performed in a workmanlike manner.

- An appraiser's client is the party (or partiesl who engage an appraiser in a specific assignment Any other party acquiring this report
from the client does not become a party to the appraiser-client relationship Any persons receiving this appraisal report because ot
disclosure requirements applicable to the appraiser's client do not become intended users of this report unless specifically identified by the
client at the time of the assignment

- The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by anyone to the publicl
through advertising public relations, news, sales, or by means of any other media, or by its inclusion in a private or public databasel

» An appraisal of real property is not a 'irome inspection' and should not be construed as such. As part ot the valuation process, the
appraiser performs a non-invasive visuai inventory that is not intended to reveal defects or detrimentat conditions that are not readily
apparent Tt\e presence of such conditions or defects could adversely affect the appraiser's opinion ot vaiue. Clients with concerns about
such potential negative factors are encouraged to engage the appropriate type ot expert to investigate

Pursuant to addressing the intent of Connecticut State Statutes iga-l ft through 19a-t ttd, inclusivel pertaining to the possible existence
of |ead- based paint, your appraisers are not qualified to detect the presence of such substances rn the environment of the subject
property. As of the date of our inspection no defective surfaces, as defined by the State of Connecticut lead paint regulations, were
evident with respect to the interior and exten'or of the subject improvements

Client: Arrhur B. & Jeannine Estrada ESrr-ada Client File No.: Appraiser Fi|e No.:

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DEFIN|T|ONS & SCOPE OF WORK

SUBJECT PROPERTY

 

 

PropertyAddress: 29MyraRd City: Hamden
State: CT Zip Code: 06517 County: NewHaven

 

 

DEFiNiTiON OF MARKET VALUE *:

iviarket value means the most probable price which a property should bring in a competitive and open market under all conditions requisite
to a fair sa|e, the buyer and seller each acting prudently and knowiedgeably, and assuming the price is not affected by undue stimulus.
implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions

whereby:

i. Buyer and seller are typically motivated;

2. Both parties are weil informed or weit advised and acting in what they consider their own best interests;

3. A reasonable time is allowed for exposure in the open market;

4. Payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and

5. The price represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions
granted by anyone associated with the sale.

* Tilis definition is from regulations published by federal regulatory agencies pursuant to Tiiie Xi of the Financiai institutions

Reform. Ftecovery, and Enforcement Act (FlRREAj of 1989 between July 5, 1990, and August 24, 1990, by the Federal Reserve System
(FRS), Nationai Credit Union Administration (NCUA), Federai Deposit insurance Corporation (FDle, the Ofiice of Thritt Supervision (UTSj,
and the Office of Comptroiier of the Currency (OCC). Tbis definition is also referenced in regulations jointly published by the OCC, OTS,
FRS, and Fi)iC on dune 7, 1994, and in the interagency Appraisai and Evaiuation Guidelines, dated OCtober 27, 1994.

The Scope of Work is the type and extent of research and analyses performed in an appraisal assignment that is required to produce
credible assignment results, given the nature of the appraisal problem, the specific requirements of the intended user(sj and the intended
use of the appraisal report iteliance upon this report, regardless of how acquired by any party or for any use, other than those specified
in this report by the Appraiser, is prohibited The Opinion of Vaiue that is the conclusion of this report is credible only within the context ot
the Scope of Work, Efiective Date, the Date of Report, the intended User(sj, the intended tlsel the stated Assumptions and timiting
Conditions, any Hypotheticai Conditions and/or Extraordinary Assumptions, and the Type oi Vaiue, as defined herein The appraiser,
appraisal firm, and related parties assume no obligation liability, or accountability, and will not be responsible for any unauthorized use of
this report or its conclusions

Exposure Period ' Exposnre period is defined as l‘the estimated length of time the property interest being appraised would have been
offered on the market prior to the hypothetical consummation of a sale at market value on the effective date of appraisai.ii A reasonable
estimated exposure period for the subject property is approximately 2 to 6 months. lt is presumed that this exposure period has preceded
the effective date ot appraisal

This appraisal and resultant value conclusion(sj give no consideration to the possible existence of any hazardous materfa|s, (which may
have been used in either the construction or maintenance of the property, including but not limited to lead-based paint. urea formaldehyde
foam insulation or asbestosj other than that which maybe intrinsically reflected in the sale prices of comparable properties utilized in this
report The presence of such materiats in the environment of the property could substantially impact on the market value and/or
marketability of the subject real estate. This assumption also applies to any soil contamination hazardous gases isuch as radonj, or
electromagnetic fields (EMF‘sj which may emanate from the subject premises or from sources in proximity to the subject property. ft is
recommended that experts be retained for such evaluations, should the client deem it appropriate

Client: Arthur B. & Jeannine Estrada Estrada Ciient File No.: Appraiser File No.:

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CERT|FICAT|ONS
SUBJECT PROPERTY
Pti)pi?.iiy Addl'BSSZ 29 M)'ra Rd 7 City: Hamden
State: cT Zip Code: 06517 County: NewHaven

 

 

 

 

APPRAISER‘S CEFiTiFiCATlON

i certify that, to the best of my knowledge and beliet:

- The statements of fact contained in this report are true and correct

~ the credibility of this report, fertile stated use by the stated user(sl, of the reported analyses, opinions, and conclusions are limited only
by th]e reported assumptions and limiting conditions, and are my personal impartial and unbiased professional analyses, opinions, and
conc usrons.

- irflr_ave_ no pre§ent or prospective interest in the property that is the subject of this report and no personal interest with respect to the

pa res rnvo ve .

~ l have no bias with respect to the property that is the subject ot this report or to the parties involved with this assignment

- lilly engagement in this assignment was not contingent upon developing or reporting predetermined results.

- lrly compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or
direction in value that favors the cause of the ciient, the amount of the value opinion the abatement of a stipulated result or the
occurrence of a subsequent event directly related to the intended use of this appraisal

- iviy analyses, opinions. and conclusions were developed and this report has been prepared in conformity with the Uniform Standards of
Professiona| Appraisa| Practice that were in effect at the time this report was prepared

- | did not baser either partially or completeiy, my analysis and/or the opinion of value in the appraisal report on the race, coior, religion
sex. handicap, familial status, or national origin of either the prospective owners or occupants of the subject property, or of the present
owners or occupants of the properties in the vicinity of the subject property,

- Unless othenvise indicated l have made a personal inspection of tire property that is the subject of this report

- Unless otherwise indicated no one provided significant real property appraisal assistance to the person(s) signing this certification

Additional Ceriifications: l have not performed services, as an appraiser or any other eapacily, regarding the property that is the subject of this report within
the three-year period immediately preceding acceptance of this assignment

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S|GNATURES

APPRA|SER / SUPERVlSORY APPHAlSEFt (if required)

or CO-APPRA|SER (if applicab|e)

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Supervisory or
ADPl'alSBi' Namel Vincent uardiano CO-AppfaiSEf NB|T|EZ
Company: Company:
Phone: (203) 732-2900 Fax: (203) 732-2903 Phone: Fax:
E-rt'tElili VJGRE(rilcorncast.net E~mal|f
Date of Fieport (Signature): estop/2017 Date of Fteport (Signature): 06/05/2017
License or Certification #: RCGoooozdo State: CT License or Certr`fication #: State:
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Expiration Date of License or Certificab‘on: 04/30/2018 _ Expiration Date of License or Certliication:
inspection of Subject: [X] lntedor & Exterior |:i Exterior Only i:l None inspection of Subject: g interior & E)rterior l:j Exterior Only |:| None
Date of lnspection: Augusr 6, 2017 Date of lnspection:
Client: Anfrrrr B. & Jeannine Esrrada Esrrada Client File No.: Appraiser File No.:

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Suhiect Photo Page

    
  
   

Address 29
Hamden

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Ne\v Ha\'en StafE CT COde 06517

Subiect Front

   

29 Myra Rd

Sales Price N/A
Gross Living Area 1,601
Total Rooms 7

Total Bedrooms 2
Tota| Bathrooms 1.1

tocation Gocd

\het'.i Residerttial

S`rie 0.25 Ac/Landscape
Ouaiify Average

Age 82 Yrs

Suhiect Rear

Subiect Street

 

Form LPlCPiX.DSS_i_tR - "TOTAL" appraisal software by a la mode, inc. - t-BUU-ALAMUDE

 

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Comparab|e Photo Page

 
    
 
 
 

Address 29

   

  

State CT Code

Gomparab|e 1

   

33 H€pburn Rd

PtOX. id Stlbj'BCt {). 17 miles NE
Sates Price 240,000

Gross Living Area 1,461

lotal ltooms 6

Totai Bedrooms 3
Total Bathrooms 2

Location Stmilar

'ir"lew Residential

Sli& 0.34 Ac/ Similar
QUHiity Average

Age 79 Yrs

Comparahle 2

25 Pick\vick Rd

Pro)r. to Subject 0.26 miles N
Sa|es Price 245,000
Gross Living Area 1,556

total Fiooms 7

Total Bedrooms 3
Total Bathrooms t.t

LDCBllOIl Simiiar

Wew Residential

S`iie 0.62 Acrl Similar
Ouai'iiy Average

Ag€ 87 Yrs

Comparah|e 3

36 Myra Rd

Pft)lt. to SUbj'SCt 0.03 miles NE
Saies Prlce 215,000

Gross Livfng Area 1,832

Total iloorrrs 8

Total Bedrooms 4
Tolai Bathrooms l.l

 

i_ocation Sirnitar

V`lew Residential

Sth 0.28 Ac/ lllferior
Uliitilly Brick

AQB 86 Yrs

 

Form LPlCPi)tDS%¢LTR - 'TOTAL" appraisal software by a la mode, inc. - i-BtttJ-ALAMUDE

 

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Location Map

Address 29 Rd

New Havert

State Cl`

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Form MAP_'LT.LUC - "iOTAL" appraisal software by a la mode. inc

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Assessor’s Carcl

 

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Assessor’s Carcl

 

 

 

 

 

 

  

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Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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&V.F. Lel'snn, Agcnts & Deve|npa:s", whtch map ts on me tn the Hemden 't’ovm Cterk'e Ott‘tca
and which parcel la bounded and described as fottows: '

NORTHERL‘(: By Myra Road. as shwm an said map. a distance ofsa'venl -
three (73.0} feet: y

EASTERLY: By Lot 330, as shown on satct map. a dtalsnca of one hundred
nrty (150.0) reet;

SOUTHERLY: By land now or fonnerty of Chartotto R. Downer, as shown on
satd mnp, a distance of seventy-three (73.0) teel; and

WESTERLV: By Lot 1528, as shown on said map, a distance of one hundred
fifty (150.0) feet.

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Hamden Town mark

 

Forrn SCNLTFt - "TOTAL" appraisal sottwate by a la mode, inc. - 1-800'ALAMUDE

 

 

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Scanned Assessor s Man

 

 

 

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has been certified by the Department of Consumcr Protection as a licensed

CERTIFIED GENERAL REAL ESTATE APPRAI'SER

License # RCG.0000260

arreanve= 05/01/2017 w
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Form SCNLTR - “TOTAL“ appraisaf software by ala mode, inc. - 1-80@-ALAMODE

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

NEW HAVEN I)IVISION
In Re: Chapter 7
ARTHUR B. ESTRADA Case No. 17-31085 AMN
Debtor' August 23, 2017

 

NOTICE OF CONTESTED MA'I`TER RESPONSE DATE

Althur B. Estrada (the “Movant”) has fried a Motion Pursuant to ll U.S.C. § 522 to Avoid
Judioial Liens Impairing Exemptions (the “Contested Matter”) with the United States Bankruptoy Court
for the Distriot of Connecticut.

Notice is hereby given that any response to the Contested Matter must be filed with the Court no
later than September 6, 2017.* In the absence of a timely response, the proposed orders in the
Contested Matters may enter Without further notice and hearing, see 11 U.S.C. Section 102(1).

Dated at New Haven, Connecticut, this 23'd day of August 2017.

BY: /S/ Richard M. Coan

chhard M. Coan (ct06376)

Coan, Lewendon, Gultiver & Miltenberger, LLC
495 Orange Street

New Haven, CT 06511

Telephone: (203)624-4756

Facsimile: (203)865-3673
rooan@coantewendon.cotn

*Pursuant to Federal Rule of Bankruptcy Procedure 9006(0, if service is made by mait, three days are
added after the response date set in this notice.

 

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF C()NNECTICUT
NEW HAVEN DIVISION
In Re: Chapter 7
ARTHUR B. ESTRADA Case No. 17-31085 AMN
Debtor August 23, 2017

 

CERTIFICATE ()F SERVICE

 

ln accordance With the applicable provisions of the Federal Rules of Bankruptcy Procedure,
2002 and 7004, the undersigned certifies that on the 23rd day of August 2017, the following
Documents were served on the Offtce of the United States Trustee, the Cllapter 7 Trustee, Debtor and
all appearing parties via the Court’s electronic filing system or, by first class mail on the parties in
interest listed in Section 2 below.

l. Documents Served:

a. Motion Pursuant to ll U.S.C. § 522 to Avoid Judicial Lien Impairing Exemptions
b. Proposed Order
c. Notice of Contested Matter

2. Parties Sel'ved Via Certified Mail:

American Express Bank FSB
Att: President or Other Officer
4315 F, 2700 West

Salt Lal<e City, UT 84148

Target National Bank

Att: President or Other Ol`l`lcer
3901 West 53rcl Street

Sioux Falls, SD 57106

Discover Bank

Att: President or Other Off'tcer
c/o Discover Products

6500 New Albany Road

East New Albany, OH 43054

3. Parties Sel'ved Via Fil'st Class Mail:
Arthur B. Estrada

20 Myra Road
Hamden, CT 06517

 

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American Express Bank FSB
c/o Stephen Wiencr, Esq

Law Offlce Howard Lee Schiff
P.O. Box 280245

East Hartford, CT 06128

Target National Bank

c/o Stephen Wiener, Esq.

Law Offlce of Howard Lee Schif
P.O. Box 280245

East Hartford, C'I` 0612

Discover Bank

c/o Kevin M. Hughes, Esq.
Zwicl<er & Associates, PC
5800 Bigelow Colnmons
Enfleld, CT 06082

BY: /s/ Rlchard M. Coan

Richard M. Coan (ct06376)

Coan, Lewendon, Gulliver & Miltenberger, LLC
495 Orange Street

New Haven, CT 06511

Telephone: (203)624-4756

Facsinrile: (203)865~3673
rcoan@coanlewendon.com

 

